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    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
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   11    TODD WILLIAMSON,                       Case No. CV 21-2589-GW-AGRx

   12                      Plaintiff,

   13          v.                                 ORDER TO DISMISS

   14    RAR2-VILLA MARINA CENTER
         CA, LLC, et al.,
   15
                           Defendants.
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              Based upon the Notice of Dismissal [30] filed on November 12, 2021, it is
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        hereby ORDERED that this action is dismissed in its entirety.
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              IT IS SO ORDERED.
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        Dated: November 15, 2021
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                                              _________________________________
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                                              HON. GEORGE H. WU,
   25                                         UNITED STATES DISTRICT JUDGE
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